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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


   UNITED STATES OF AMERICA

                                              Criminal Action No.
         v.
                                              1:21-CR-226-TWT
   B RETT S ABADO
             D EFENDANT .


         GOVERNMENT’S SENTENCING MEMORANDUM AND
               MOTION FOR 5K DOWNWARD EPARTURE
   The United States of America, by Ryan K. Buchanan, United States Attorney,

and Bernita Malloy and Angela Adams, Assistant United States Attorneys, for the

Northern District of Georgia respectfully submits this memorandum in connection

with the sentencing of Brett Sabado (the “Defendant”), presently set for June 23,
2020, at 2:00 p.m. For the reasons stated below, the Court should adopt the

recommendations of the United States Probation Office on the determination of

the advisory United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”)
range and find that the applicable total adjusted offense level is 31.       The

Defendant’s criminal history is Category I, and the advisory Guidelines range is

108-135 months.
   The United States further moves, pursuant to U.S.S.G § 5K, for a three-level

downward departure of the applicable guideline range based upon the

Defendant’s substantial assistance. This would yield an adjusted Guidelines range
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of 78-97 months. The United States asks the Court to impose a sentence at the
bottom of that adjusted Guidelines range, which will provide appropriate

punishment for the instant offense, but not a sentence greater than necessary to

accomplish the purposes of sentencing set forth in 18 U.S.C. § 3553(a).

   I.      Background

        The Defendant and his co-conspirators participated in schemes to defraud

both the Tricare and Medicare programs.         Under the Tricare scheme, the

Defendant and his co-conspirators caused compounding pharmacies to make false

and fraudulent claims on Tricare and other payers for medically unnecessary

compounded medications, such as pain creams, scar creams and multi-vitamins,
that were specifically devised to maximize profits.       The medications were

dispensed pursuant to false and fraudulent prescriptions.      The compounding

pharmacies paid NHS, a pharmaceutical company operated by the Defendant,

millions of dollars in illegal kickbacks and other remuneration in exchange for the

referral of the false and fraudulent prescriptions for compounded medications.

The Defendant also created an online portal database used by NHS to facilitate the

referral of prescriptions through NHS to compounding pharmacies.               The

Defendant and others ultimately caused a loss of $4.5 million to Tricare.

        Under the Medicare scheme, the Defendant conspired with the owners of
durable medical equipment (DME) supply companies to submit false and

fraudulent claims for medically unnecessary DME such as arm, leg, back, wrist,

and neck braces to Medicare. Specifically, the Defendant warehoused, packaged,
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and shipped thousands of fraudulent DME orders to Medicare beneficiaries. The

Defendant knew that the DME orders were supported by sham prescriptions

written by telemedicine physicians who, in many instances, never spoke with or

examined the Medicare beneficiaries for whom the physicians ordered DME.

Nonetheless, the Defendant continued to package and ship DME that Medicare

beneficiaries neither requested nor needed. For his part in this scheme, the

Defendant received between $5 and $15 for each medically unnecessary brace

he shipped. The Defendant also received a percentage of all Medicare

reimbursement for the braces. The Defendant and others ultimately caused a

loss of almost $70 million to Medicare.

   II.    Plea Agreement and The Probation Office’s Recommendation

   On August 10, 2021, the Defendant pleaded guilty to one count of conspiracy

to commit health care fraud.   In the plea agreement, the United States and the

Defendant agreed that the applicable base offense guideline is U.S.S.G. §

2B1.1(a)(2), which yields a base offense level of 6. The Defendant caused loss in

an amount more than $65,000,000 and less than $150,000,000, yielding a 24-level

increase to the offense level pursuant to U.S.S.G. § 2B1.1(b)(1)(M). The Defendant

also pleaded guilty to an offense that caused loss to a federal healthcare program

in an amount more than $20,000,000, increasing the offense level by 4 levels
pursuant to 2B1.1(b)(7)(A) and (B)(iii). The United States will also recommend a

two-level sentence adjustment for acceptance of responsibility under U.S.S.G. §

3E1.1(a), together with an additional one-level adjustment under U.S.S.G. §
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3E1.1(b). Based upon this agreement, the adjusted Guidelines range would yield
an adjusted offense level of 31.

   The Probation Office’s assessment of the case and Guideline offense calculation

is consistent with the recommended terms in the parties’ plea agreement.
   III.    Motion for A Downward Departure of the Applicable Guidelines
           Range For Defendant’s Substantial Assistance
   The Defendant’s parents, Charles Ronald Green and Melinda Elizabeth Green,

were charged with engaging in similar fraudulent schemes related to medically

unnecessary compounding medications in the Southern District of California. (See

U.S. v. Green, et. al, Case No. 3:20-cr-01566-DMS, SDCA (San Diego)). The

Defendant agreed to cooperate with the Government and provided valuable

information that aided in the prosecution of the Greens.      It is believed that

knowledge of the Defendant’s cooperation motivated the Greens to accept

responsibility and enter pleas of guilty.

   Because the Defendant provided substantial assistance to the Government,

U.S.S.G. § 5K permits this Court to impose a sentence below the applicable
guideline range, and the Government asks that the Court to do so in this case. The

Government recommends a 3-level downward departure from the applicable

Guidelines range of 108-135 months, reducing the Guidelines range to 78-97
months.




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   IV.     The United States’ Recommendation
   The United States recommends a sentence at the low end of the Guidelines

range.     A low-end Guidelines sentence is appropriate in this case upon

consideration of the factors set forth in 18 U.S.C. §3553(a). First, the characteristics

of the Defendant warrant a low-end sentence. The Defendant admitted to his

conduct prior to being charged and agreed to cooperate immediately. In addition,

the Defendant has no criminal history. Second, while the Defendant’s fraud

scheme was serious and pervasive in that it spanned several jurisdictions and

caused over $100 million in loss to federal healthcare programs, a sentence of 78

months appropriately reflects the seriousness of the offense, promotes respect for
the law, and provides just punishment.          Third, the Defendant’s sentence is

appropriate in terms of the length of imprisonment because a low-end sentence

amounts to approximately 6 and 1/2 years of incarceration. This sentence serves

as adequate deterrence to others who might consider engaging in similar criminal

conduct.



                                           Respectfully submitted,

                                           R YAN K. B UCHANAN
                                              United States Attorney


                                       /s/BERNITA MALLOY
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel

of record.

                          Gregory E. Golberg, Esq.
                          John D. Sullivan, Esq.


June 22, 2022

                                            /s/ A NGELA A DAMS
                                            A NGELA A DAMS
                                            Assistant United States Attorney




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